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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                                 CASE NO. 22-81294-CIV-CANNON

  DONALD J. TRUMP,

            Plaintiff,
  v.

  UNITED STATES OF AMERICA,

            Defendant.
                                          /

                   ORDER GRANTING MOTION TO UNSEAL NOTICE OF
                 STATUS OF PRIVILEGE REVIEW TEAM’S FILTER PROCESS

            THIS CAUSE comes before the Court upon Defendant’s Motion to Unseal Notice of

  Status of Privilege Review Team’s Filter Process (the “Motion”) [ECF No. 71], filed on September

  8, 2022.1 The Court has reviewed the Motion, which seeks to unseal only the Notice of Status of

  Privilege Review Team’s Filter Process [ECF No. 40]—not the attachments to that Notice

  [ECF Nos. 40-1, 40-2]. The Motion is hereby GRANTED. For purposes of protecting claims of

  attorney-client privilege, however, and in accordance with Defendant’s Motion [ECF No. 71

  p. 1 n.2], Exhibits A and B to the Notice [ECF Nos. 40-1, 40-2] shall remain sealed pending further

  Court order.

            Accordingly, it is ORDERED AND ADJUDGED as follows:

        1. Defendant’s Motion [ECF No. 71] is GRANTED.

        2. The Clerk of the Court is instructed to UNSEAL only the Notice of Status of Privilege

            Review Team’s Filter Process [ECF No. 40]. Exhibits A and B [ECF Nos. 40-1, 40-2]

            shall remain sealed until further Court order.




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      Plaintiff has not responded to the Motion, and the deadline to so expired on September 22, 2022.
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                                                      CASE NO. 22-81294-CIV-CANNON
          DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 3rd day of October

  2022.



                                                   _________________________________
                                                   AILEEN M. CANNON
                                                   UNITED STATES DISTRICT JUDGE
  cc:     counsel of record




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